Case 22-16445-SLM        Doc 46     Filed 02/07/24 Entered 02/07/24 20:39:08        Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF NEW JERSEY

  In re:                                            )
                                                    )   Chapter 13
   MaryAnn Wallace                                  )
   Debtor(s).                                       )   Case No. 22­16445 (SLM)
                                                    )
                                                    )
                                                    )
                                                    )

                 DEBTOR’S MOTION TO VACATE DISMISSAL OF CASE

   MaryAnn Wallace , by and through their counsel, Michelle Lee, Esquire, moves for relief

   under Fed. R. Bankr. P. 9024 based on the reasons stated below, and requests that the court

   vacate the order dismissing this case entered on January 26, 2024.

       1. A Chapter 13 bankruptcy was filed with this court on August 16, 2022.

       2. This Court dismissed the Chapter 13 case on January 24, 2024.

       3. The Debtor seeks to reinstate the Chapter 13 bankruptcy. Modified Chapter 13 plan

   to extend deadline to refinance will be filed.

       4. The Debtor prays this Court will reinstate their case.

        WHEREFORE, the Debtor respectfully requests that this Court enter an Order
   Reinstating this Chapter 13 case.




   Dated: February 7, 2024                                Dilworth Paxson LLP
                                                          By: Michelle Lee Esq.
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